                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:12-00013
                                                 )           JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                      )


                                MEMORANDUM AND ORDER

       Pending before the Court are Defendant Angela Whitson’s Motion To Dismiss Count 5

For Lack Of Federal Jurisdiction (Docket No. 239), Defendant Manila Vichitvongsa’s Motion

To Dismiss Counts One And Five And To Require Mandatory Election Of Offenses Between

Counts Two And Four And Counts Six And Eight (Docket No. 243), and Defendant Jessica

Parker’s Motion To Dismiss Count One Of The Indictment (Docket No. 246). The Court held a

hearing on the Motions on December 13, 2012.

       Rule 12(b) of the Federal Rules of Criminal Procedure provides that any defense which is

capable of determination without the trial of the general issue may be raised by motion before

trial. In considering a motion made under Rule 12(b), district courts “may ordinarily make

preliminary findings of fact necessary to decide questions of law presented by pretrial motions so

long as the trial court’s conclusions do not invade the province of the ultimate factfinder.”

United States v. Craft, 105 F.3d 1123, 1126 (6th Cir. 1997). See also United States v. Jones, 542

F.2d 661, 664-65 (6th Cir. 1976); United States v. Short, 671 F.2d 178, 181-83 (6th Cir. 1981).

       For the reasons stated on the record at the hearing, Defendant Angela Whitson’s Motion

To Dismiss Count 5 For Lack Of Federal Jurisdiction (Docket No. 239) and Defendant Jessica

Parker’s Motion To Dismiss Count One Of The Indictment (Docket No. 246) are DENIED.




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Defendant Manila Vichitvongsa’s Motion To Dismiss Counts One And Five And To Require

Mandatory Election Of Offenses Between Counts Two And Four And Counts Six And Eight

(Docket No. 243) is DENIED as to the request to dismiss Counts One and Five. See United

States v. Robinson, 119 F.3d 1205, 1212 n.4 (5th Cir. 1997)(holding that the commercial nexus

element in the Hobbs Act is a substantive element of the crime and not “jurisdictional” in the

sense that a failure of proof would divest the federal courts of adjudicatory power over the case),

cited with approval in United States v. Martin, 526 F.3d 926, 933 (6th Cir. 2008).

        With regard to Defendant Vichitvongsa’s request for election of offenses between Counts

Two and Four and Counts Six and Eight, the Defendant argues that the predicate crimes

underlying the Section 924(c) counts at issue are based on identical conduct that occurred

simultaneously, and therefore, the counts should be merged. The Government argues, on the

other hand, that the counts are not multiplicitous because each predicate offense requires proof

of a different set of facts.

        The Sixth Circuit has held that separate, predicate offenses that require proof of different

facts can support separate convictions under 18 U.S.C. § 924(c):

        Morales Angeles asserts that the testimony at trial established that he only used or
        displayed a gun on one occasion – when he initially abducted Garcia – and
        therefore only one, not both, of his convictions under 18 U.S.C. § 924(c) on
        Counts Three and Five can stand. The district court properly rejected this
        argument.

                It is well-settled that ‘a court may not impose more than one sentence
        upon a defendant for violations of section 924(c) which relate to but one predicate
        offense.’ United States v. Sims, 975 F.2d 1225, 1233 (6th Cir.1992). However,
        ‘[w]e have upheld multiple convictions and sentences under 18 U.S.C. §
        924(c)(1) so long as such convictions are based on separate predicate acts.’
        United States v. Graham, 275 F.3d 490, 519-20 (6th Cir.2001); see also United
        States v. Burnette, 170 F.3d 567, 572 (6th Cir.1999) (‘It is now firmly established
        that the imposition of separate consecutive sentences for multiple § 924(c)

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       violations occurring during the same criminal episode [is] lawful.’). The question
       we must answer then is whether Count Three – use of a firearm in relation to the
       kidnapping of Garcia – relies on a separate predicate act from Count Five --use of
       a firearm in relation to the carjacking.

               It is clear that when predicate offenses consist of non-identical conduct
       and are not committed simultaneously, these offenses are separate predicate acts
       that can support multiple convictions under 18 U.S.C. § 924(c). Compare
       Graham, 275 F.3d at 520-21 (finding that a drug trafficking offense and a
       conspiracy to commit crimes against the United States were separate predicate
       acts since they ‘were not committed simultaneously, nor did they consist of
       identical conduct’ and Burnette, 170 F.3d at 572 (upholding two convictions
       under § 924(c) where ‘the kidnapping occurred significantly before, and
       independent of, the actual bank robbery’) with United States v. Johnson, 25 F.3d
       1335, 1338 (6th Cir.1994) (en banc) (‘[P]ossession of one or more firearms in
       conjunction with predicate offenses involving simultaneous possession of
       different controlled substances should constitute only one offense under §
       924(c)(1).’). Further, while a temporal gap between predicate offenses may
       bolster a showing that predicate acts are separate, predicate offenses need not
       occur at different times in order to support multiple § 924(c) convictions. See
       United States v. Nabors, 901 F.2d 1351, 1353, 1358-59 (6th Cir.1990) (finding
       that the predicate offenses of drug trafficking and a crime of violence – either
       attempted murder of a federal agent or assaulting a federal agent with a deadly
       weapon – supported two separate § 924(c) convictions, even though the drug
       trafficking occurred simultaneously, at least in part, with the crime of violence).
       Rather, the fact that each offense requires proof of facts not required by the other
       offense appears to be sufficient to show that the predicate acts are separate. Id. at
       1358.

                In this case, the predicate offenses of kidnapping, which requires proof of
       the unlawful abduction and holding of a person, and carjacking, which requires
       proof of the taking of a motor vehicle from a person by force and violence or
       intimidation, clearly involve different conduct and thus are separate predicate
       acts. See 18 U.S.C. §§ 1201 & 2119. Accordingly, because Counts Three and
       Five are based on separate underlying predicate acts, Morales Angeles's
       conviction on both counts does not violate the Double Jeopardy Clause. The
       district court did not err in denying Morales Angeles's motion for judgment of
       acquittal or a new trial made on these grounds.

United States v. Angeles, 2012 WL 1940344, at * 6-7 (6th Cir. May 30, 2012).

       The court has also held that the Government may seek a multiple-count indictment for

duplicitous counts even though the accused may not suffer two convictions or sentences on that

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indictment, and that the appropriate remedy for any Double Jeopardy violation is for the court to

merge the convictions at sentencing. See Ball v. United States, 470 U.S. 856, 865, 105 S.Ct.

1668, 84 L.Ed.2d 740 (1985); United States v. Throneburg, 921 F.2d 654, 657 (6th Cir. 1990);

United States v. Modena, 430 Fed. Appx. 444 (6th Cir. July 14, 2011). The Defendant has not

cited any authority indicating that the Court must require election of counts prior to trial, or that

it would be proper to do so under Rule 12 at this stage of the proceedings. Accordingly,

Defendant Manila Vichitvongsa’s Motion To Dismiss Counts One And Five And To Require

Mandatory Election Of Offenses Between Counts Two And Four And Counts Six And Eight

(Docket No. 243) is DENIED as to the request for mandatory election of offenses.

       It is so ORDERED.



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                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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